           Case 7:19-cv-10395-AEK Document 26 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
JANISHA GREGORIA CARABALLO,
                                    Plaintiff,                              19 CIVIL 10395 (AEK)

                 -v-                                                           JUDGMENT

COMMISSIONER OF SOCIAL SECURITY,
                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Stipulation and Order dated October 21, 2020, that the decision of the

Commissioner of Social Security be, and hereby is, reversed and that this action be, and hereby is,

remanded to the Commissioner of Social Security, pursuant to sentence four of 42 U.S.C. § 405(g),

for further administrative proceedings.


Dated: New York, New York
       October 21, 2020

                                                                         RUBY J. KRAJICK
                                                                     _________________________
                                                                           Clerk of Court
                                                               BY:
                                                                     _________________________
                                                                            Deputy Clerk
